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UNITED STATES DISTRICT COURT _'"
FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUN __ l PM 6: 07

  

 

 

WESTERN DIVISION
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UNITES STATES OF AMERlCA W`D Gi ‘f"l 14‘\11§~'=?"“"5
Plaintiff,
v. Cr. No. 04-20315-D

EUGENE L. CAMERON,

Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION
TO CONTINUE SENTENCING HEARING

 

For good cause shown, the Court hereby GRANTS defendant’s motion to continue the

sentencing hearing currently set for Monday, June 6, 2005 for ten days, or until

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lt is so ORDERED, this the get day of (\/MJ_/ , 2005.

 

 

NITED STATES DISTRICT COURT JUDGE

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Honorable Bernice Donald
US DISTRICT COURT

